     Case 2:17-cv-01628-RFB-EJY Document 115 Filed 01/18/22 Page 1 of 2




 1 LUKE A. BUSBY, ESQ
   Nevada Bar No. 10319
 2 316 California Ave.
   Reno, Nevada 89509
 3 775-453-0112
   luke@lukeandrewbusbyltd.com
 4
   Attorney for the Plaintiff
 5
                                 UNITED STATES DISTRICT COURT
 6
                                         DISTRICT OF NEVADA
 7
                                                 ***
 8
    SHANNON CARTER,                                  Case No.: 2:17-cv-01628-RFB-EJY
 9
                              Plaintiff,             STIPULATION AND ORDER
10 vs.                                               ESTABLISHING DEADLINE FOR
                                                     PROPOSED JOINT PRETRIAL
11 S. BEAN, BITAR, et al.,
                                                     ORDER
12                            Defendants.
    _____________________________________/ FIRST REQUEST
13

14
            COMES NOW Plaintiff, SHANNON CARTER, and Defendants above named, by and
15

16 through their undersigned attorneys of record, and hereby stipulate and agree, and request that

17 the Court order that the Proposed Joint Pretrial Order in this matter be due on April 30, 2022,

18 such that the parties may pursue potential resolution of the claims in this matter.
19 ///

20
   ///
21
   ///
22
   ///
23

24 ///

25 //

26 ///

27
     ///
28


                                                     1
     Case 2:17-cv-01628-RFB-EJY Document 115 Filed 01/18/22 Page 2 of 2



            The parties hereby stipulate and agree that this request is not made for any improper
 1
     purpose or for purposes of delay and that no party shall be prejudiced by same.
 2

 3                  DATED this Monday, January 17, 2022:

 4                                                By__/s/ Chris Davis, Esq. _____
                                                  Chris Davis, Esq.
 5                                                Deputy Attorney General – Public Safety Division
                                                  Office of the Nevada Attorney General
 6
                                                  555 East Washington Avenue, Suite 3900
 7                                                Las Vegas, Nevada 89101
                                                  P: 702-486-9252
 8                                                Attorneys for Defendants

 9                                                By:__/s/ Luke Busby, Esq. _____
                                                  Luke Busby, Esq.
10
                                                  Nevada Bar No. 10319
11                                                316 California Ave.
                                                  Reno, Nevada 89509
12                                                775-453-0112
                                                  luke@lukeandrewbusbyltd.com
13
                                                  Attorney for the Plaintiffs
14

15                                               ORDER
16          IT IS SO ORDERED.
17
            DATED: _____________________________, 20___.
18
19                                                ___________________________________
                                                  UNITED STATES DISTRICT JUDGE
20
                                               DATED this 18th day of January, 2022.
21

22

23

24

25

26

27

28


                                                     2
